      Case 1:17-cv-07568-PGG-KHP Document 63 Filed 11/28/17 Page 1 of 4




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November 28, 2017

VIA ECF

Hon. Katharine H. Parker
United States Magistrate Judge
United States District Court
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street, Room 1950
New York, New York 10007


       Re:    MiMedx Group, Inc., et al. v. Sparrow Fund Management LP, et al.,
              No. 1:17-cv-07568 (S.D.N.Y.)

Dear Magistrate Judge Parker:

      As you know, we were recently retained as counsel for Defendants John Fichthorn and
BR Dialectic Capital Management, LLC. We write to respectfully submit the Declaration of
John Fichthorn, attached hereto as Exhibit 1, in connection with plaintiffs’ motion styled as a
“Motion for Expedited Discovery on an Emergency Basis,” seeking information about
defendant Viceroy Research (Dkt. 14). While the previously-filed opposition memorandum
addressed the applicable law, we thought it be helpful to ascertain whether our clients actually
had information that would permit service of process on Viceroy. Mr. Fichthorn’s declaration
confirms that they do not.

      We will look forward to addressing plaintiffs’ discovery motion, as well as defendants’
motion to dismiss, at Friday’s hearing. Thank you for your attention to this matter.

                                            Respectfully submitted,
                                            /s/ Seth D. Berlin
                                            Seth D. Berlin

cc:    Counsel of Record (via ECF)
Case 1:17-cv-07568-PGG-KHP Document 63 Filed 11/28/17 Page 2 of 4




                 Exhibit 1
Case 1:17-cv-07568-PGG-KHP Document 63 Filed 11/28/17 Page 3 of 4
Case 1:17-cv-07568-PGG-KHP Document 63 Filed 11/28/17 Page 4 of 4
